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Attorneys for Plaintiff
Celgene Corporation

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


CELGENE CORPORATION,
                                                       Civil Action No. ________________
                          Plaintiff,
                                                       COMPLAINT FOR
       v.                                              PATENT INFRINGEMENT
AUROBINDO PHARMA LIMITED,
                                                       (Filed Electronically)
AUROBINDO PHARMA USA, INC.,
AUROLIFE PHARMA LLC, and EUGIA
PHARMA SPECIALTIES LIMITED,

                          Defendants.


       Plaintiff Celgene Corporation (“Celgene”), by its undersigned attorneys, for its

Complaint against defendants Aurobindo Pharma Limited (“Aurobindo Limited”), Aurobindo

Pharma USA, Inc. (“Aurobindo USA”), Aurolife Pharma LLC (“Aurolife”), and Eugia Pharma

Specialties Limited (“Eugia”) (collectively, “Aurobindo” or “Defendants”), alleges as follows:

                                        Nature of the Action

         1.      This is an action for patent infringement under the patent laws of the United

 States, 35 U.S.C. §100, et seq., arising from Aurobindo’s filing of Abbreviated New Drug

 Application (“ANDA”) No. 210249 (“Aurobindo’s ANDA”), with the United States Food and

 Drug Administration (“FDA”) seeking approval to commercially market generic versions of
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 Celgene’s 1 mg, 2 mg, 3 mg, and 4 mg POMALYST® drug products (“Aurobindo’s ANDA

 Products”) prior to the expiration of United States Patent Nos. 10,093,647 (the “’647 patent”),

 10,093,648 (the “’648 patent”), and 10,093,649 (the “’649 patent”) (collectively, “the patents-

 in-suit”) owned by Celgene.

                                           The Parties

       2.        Plaintiff Celgene is a biopharmaceutical company committed to improving the

lives of patients worldwide. Celgene focuses on, and invests heavily in, the discovery and

development of products for the treatment of severe and life-threatening conditions. Celgene is a

world leader in the treatment of many such diseases, including cancer. Celgene is a corporation

organized and existing under the laws of the State of Delaware, having a principal place of

business at 86 Morris Avenue, Summit, New Jersey 07901.

       3.        On information and belief, Defendant Aurobindo Pharma Limited is a company

organized and existing under the laws of India, having a principal place of business office at

Maitri Vihar, Plot #2, Ameerpet, Hyderabad - 500038, Telangana, India.

       4.        On information and belief, Defendant Eugia Pharma Specialties Limited is a

company organized and existing under the laws of India, having a principal place of business

office at Maitri Vihar, Plot #2, Ameerpet, Hyderabad - 500038, Telangana, India.

       5.        On information and belief, Eugia is a subsidiary of Aurobindo Limited.

       6.        On information and belief, Eugia is controlled by Aurobindo Limited.

       7.        On information and belief, Defendant Aurobindo Pharma USA, Inc. is a

company organized and existing under the laws of the State of Delaware, having a principal

place of business at 279 Princeton Hightstown Road, East Windsor, New Jersey 08520.

       8.        On information and belief, Aurobindo USA is a wholly owned subsidiary of

Aurobindo Limited.


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       9.        On information and belief, Aurobindo Limited and Eugia, directly or through

their subsidiaries, including Aurobindo USA, sell and market pharmaceutical products

throughout the United States, including in this Judicial District.

       10.       On information and belief, Defendant Aurolife Pharma LLC is a corporation

existing under the laws of the State of Delaware, having a principal place of business at 2400

Route 130 North, Dayton, New Jersey 08810.

       11.       On information and belief, Aurolife is a wholly owned subsidiary of Aurobindo

USA.

                                       The Patents-in-Suit

       12.       On October 9, 2018, the United States Patent and Trademark Office (“USPTO”)

duly and lawfully issued the ’647 patent, entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-

3-yl)isoindoline-1,3-dione dihydrate, compositions and methods of use thereof,” to Celgene as

assignee of the inventor Jerry Lee Atwood. A copy of the ’647 patent is attached hereto as

Exhibit A.

       13.       On October 9, 2018, the USPTO duly and lawfully issued the ’648 patent,

entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-3-yl)isoindoline-1,3-dione hemihydrate,

compositions and methods of use thereof,” to Celgene as assignee of the inventor Jerry Lee

Atwood. A copy of the ’648 patent is attached hereto as Exhibit B.

       14.       On October 9, 2018, the USPTO duly and lawfully issued the ’649 patent,

entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-3-yl)isoindoline-1,3-dione monohydrate,

compositions and methods of use thereof,” to Celgene as assignee of the inventor Jerry Lee

Atwood. A copy of the ’649 patent is attached hereto as Exhibit C.




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                                  The Pomalyst® Drug Product

       15.       Celgene holds an approved New Drug Application (“NDA”) under Section

505(a) of the Federal Food Drug and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(a), for

pomalidomide capsules (NDA No. 204026), which it sells under the trade name POMALYST®.

POMALYST® is an FDA-approved medication used for the treatment of multiple myeloma.

       16.       The claims of the patents-in-suit cover, inter alia, solid forms of pomalidomide.

                                      Jurisdiction and Venue

       17.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 2201, and 2202.

       18.       This Court has personal jurisdiction over Aurobindo USA by virtue of, inter

alia, its systematic and continuous contacts with the State of New Jersey. On information and

belief, Aurobindo USA’s principal place of business is in East Windsor, New Jersey. On

information and belief, Aurobindo USA is registered with the State of New Jersey’s Division of

Revenue and Enterprise Services as a business operating in New Jersey under Business ID No.

0100921223. On information and belief, Aurobindo USA is registered with the State of New

Jersey’s Department of Health as a drug wholesaler under Registration No. 5003120. On

information and belief, Aurobindo USA purposefully has conducted and continues to conduct

business in this Judicial District. By virtue of its physical presence in New Jersey, this Court has

personal jurisdiction over Aurobindo USA.

       19.       On information and belief, Aurobindo USA is in the business of, among other

things, manufacturing, marketing, importing, offering for sale, and selling pharmaceutical

products, including generic drug products, throughout the United States, including in this

Judicial District. On information and belief, this Judicial District will be a destination for the




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generic drug products described in Aurobindo’s ANDA. On information and belief, Aurobindo

USA also prepares and/or aids in the preparation and submission of ANDAs to the FDA.

       20.       This Court has personal jurisdiction over Aurolife by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief

Aurolife’s principal place of business is in Dayton, New Jersey. On information and belief,

Aurolife is registered with the State of New Jersey’s Division of Revenue and Enterprise

Services as a business operating in New Jersey under Business ID No. 0600322732. On

information and belief, Aurolife is registered with the State of New Jersey’s Department of

Health as a drug wholesaler under Registration No. 5003810. On information and belief,

Aurolife purposefully has conducted and continues to conduct business in this Judicial District.

By virtue of its physical presence in New Jersey, this Court has personal jurisdiction over

Aurolife.

       21.       On information and belief, Aurolife is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial District.

On information and belief, this Judicial District will be a destination for the generic drug

products described in Aurobindo’s ANDA. On information and belief, Aurolife also prepares

and/or aids in the preparation and submission of ANDAs to the FDA.

       22.       On information and belief, Aurobindo has a regular and established, physical

place of business in New Jersey.

       23.       This Court has personal jurisdiction over Aurobindo Limited and Eugia

because, inter alia, they: (1) have purposefully availed themselves of the privilege of doing

business in New Jersey, including directly or indirectly through their subsidiaries, agents, and/or




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alter egos, Aurobindo USA and Aurolife, companies with principal places of business in New

Jersey; and (2) maintain extensive and systematic contacts with the State of New Jersey,

including the marketing, distribution, and/or sale of generic pharmaceutical drugs in New Jersey

including through, directly or indirectly, Aurobindo USA and Aurolife.

        24.       This Court has personal jurisdiction over Aurobindo because, inter alia, it has

committed an act of patent infringement under 35 U.S.C. § 271(e)(2), and has sent notice of that

infringement to Celgene in the State of New Jersey. On information and belief, Aurobindo

intends a future course of conduct that includes acts of patent infringement in New Jersey. These

acts have led and will continue to lead to foreseeable harm and injury to Celgene in New Jersey

and in this Judicial District.

        25.       Aurobindo Limited’s Annual Report 2017-18 states that its “US formulations

business contributed 45% to [its] overall formulations revenue during the year,” and “our US

business has remained resilient; and continued to be a top contributor to our overall revenues.”

See Aurobindo Limited Annual Report 2017-18 (“Aurobindo Annual Report”), at 15, available at

https://www.aurobindo.com/wp-content/uploads/2018/10/Annual-Report-2017-18.pdf (last

visited February 14, 2019). The Aurobindo Annual Report further states that Aurobindo

“[c]aters to the [U.S.] through subsidiaries: Aurobindo Pharma USA, Auro Life, AuroMedics,

AuroHealth and Natrol,” and that, citing to an IQVIA National Prescription Audit, 12 months

ending April 2018, Aurobindo was the “5th [l]argest generic company by Rx dispensed in the

US” in the United States. Id. at 4, 7. The Aurobindo Annual Report also stated that Aurobindo

“filed 47 ANDAs with the USFDA [during FY2017-18], including for 16 injectables and

received final approvals for 49 ANDAs, including seven injectables during the year under




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review,” and that “Aurobindo is building a strong product pipeline for the US market with

differentiated products . . . .” Id. at 68.

        26.          Aurolife’s website states that “Aurolife is a 100% owned subsidiary of

Aurobindo Pharma USA Inc.” About Aurolife, http://www.aurolifepharma.com/aboutus.html

(last visited February 14, 2019). Its website further notes that “Aurolife is also in the process of

constructing a large facility at Dayton, New Jersey to cater for the storage and distribution of

drugs for Aurobindo group of companies in USA.” Id. It further notes that “[t]he [Aurobindo]

group’s flag ship company, Aurobindo Pharma Ltd . . . is an Indian based, multinational

company, with headquarters in Hyderabad, India” and that “Aurolife is exclusively created to

address the US pharmaceutical manufacturing needs and to address market opportunities.” Id.

        27.          On information and belief, Aurobindo Limited, Eugia, Aurobindo USA, and

Aurolife work in concert either directly or indirectly through one or more of their wholly owned

subsidiaries with respect to the regulatory approval, manufacturing, marketing, sale, and

distribution of generic pharmaceutical products throughout the United States, including in this

Judicial District.

        28.          On information and belief, Aurobindo USA, Aurolife, and Eugia act at the

direction, and for the benefit, of Aurobindo Limited, and are controlled and/or dominated by

Aurobindo Limited.

        29.          On information and belief, Aurobindo Limited and Aurobindo USA have

previously been sued in this Judicial District and have not challenged personal jurisdiction. See,

e.g., Celgene Corporation v. Aurobindo Pharma Limited, et al., Civil Action No. 19-0143

(ES)(MAH) (D.N.J.); Celgene Corporation v. Hetero Labs Limited, et al., Civil Action No. 17-

3387 (ES)(MAH) (D.N.J.); AstraZeneca AB, et al. v. Aurobindo Pharma Ltd., et al., Civil Action




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No. 13-7298 (MLC)(TJB) (D.N.J.); Otsuka Pharm. Co., Ltd. v. Aurobindo Pharma Ltd., et al.,

Civil Action No. 14-6890 (JBS)(KMW) (D.N.J.).

        30.       Aurolife has admitted that it is subject to personal jurisdiction in this Judicial

District. See, e.g., Otsuka Pharm. Co., Ltd. v. Aurobindo Pharma Ltd., et al., Civil Action No.

14-6890 (JBS)(KMW) (D.N.J.), Dkt. No. 9, ¶ 10.

        31.       Aurobindo USA and Aurobindo Limited have further availed themselves of the

jurisdiction of this Court by previously initiating litigation in this Judicial District. See

Aurobindo Pharma USA Inc., et al. v. Apicore US LLC, et al., Civil Action No. 16-3358

(RMB)(KMW) (D.N.J.).

        32.       Aurobindo Limited has further availed itself of the jurisdiction of this Court by

previously initiating litigation in this Judicial District. See, e.g., Aurobindo Pharma Ltd., et al. v.

AstraZeneca AB, et al., Civil Action No. 16-5079 (PGS)(TJB) (D.N.J.).

        33.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and/or

1400(b).

                                   Acts Giving Rise To This Suit

        34.       Pursuant to Section 505 of the FFDCA, Aurobindo filed Aurobindo’s ANDA

seeking approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation into the United States of pomalidomide capsules 1 mg, 2 mg, 3 mg, and 4 mg, before

the patents-in-suit expire.

        35.       On information and belief, following FDA approval of Aurobindo’s ANDA,

Aurobindo will make, use, offer for sale, or sell Aurobindo’s ANDA Products throughout the

United States, or import such generic products into the United States.

        36.       On information and belief, in connection with the filing of its ANDA as

described above, Aurobindo provided written certifications to the FDA pursuant to Section 505


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of the FFDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Aurobindo’s Paragraph IV Certifications”),

alleging, inter alia, that the claims of United States Patent Nos. 8,828,427 (“’427 patent”),

6,315,720 (“’720 patent”), 6,561,977 (“’977 patent”), 6,755,784 (“’784 patent”), 8,315,886

(“’886 patent”), 8,626,531(“’531 patent”), 8,198,262 (“’262 patent”), 8,673,939 (“’939 patent”),

8,735,428 (“’428 patent”), and 9,993,467 (“’467 patent”) are invalid, unenforceable, and/or will

not be infringed by the activities described in Aurobindo’s ANDA.

        37.          No earlier than April 5, 2017, Aurobindo sent written notice of its first

Paragraph IV Certification to Celgene (“Aurobindo’s First Notice Letter”). Aurobindo’s First

Notice Letter alleged, inter alia, that the claims of the ’427, ’720, ’977, ’784, ’886, ’531, ’262,

’939, and ’428 patents are invalid and/or will not be infringed by the activities described in

Aurobindo’s ANDA. Aurobindo’s First Notice Letter also informed Celgene that Aurobindo

seeks approval to market Aurobindo’s ANDA Products before the expiration of the ’427, ’720,

’977, ’784, ’886, ’531, ’262, ’939, and ’428 patents. Aurobindo specifically directed

Aurobindo’s First Notice Letter to Celgene’s headquarters in Summit, New Jersey, in this

Judicial District.

        38.          No earlier than November 30, 2018, Aurobindo sent written notice of its second

Paragraph IV Certification to Celgene (“Aurobindo’s Second Notice Letter”). Aurobindo’s

Second Notice Letter alleged that the claims of the ’467 patent are invalid and/or will not be

infringed by the activities described in Aurobindo’s ANDA. Aurobindo’s Second Notice Letter

also informed Celgene that Aurobindo seeks approval to market Aurobindo’s ANDA Products

before the ’467 patent expires. Aurobindo specifically directed Aurobindo’s Second Notice

Letter to Celgene’s headquarters in Summit, New Jersey, in this Judicial District.




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        39.       In light of Aurobindo’s filing of its ANDA, and the USPTO’s issuance of the

patents-in-suit, Celgene sent a letter to counsel for Aurobindo dated November 20, 2018, in

which Celgene informed counsel for Aurobindo that, on information and belief, the products

proposed in ANDA No. 210249 will likely infringe one or more claims of the patents-in-suit. To

the extent that Aurobindo disagreed, Celgene requested that Aurobindo provide samples of its

ANDA Products, the active pharmaceutical ingredient used to make those ANDA Products, and

additional documentation concerning the representativeness of the requested samples, as well as

all safety, storage, and handling information that Aurobindo deems appropriate for its samples,

by December 20, 2018. Aurobindo did not respond to Celgene’s November 20, 2018 letter.

                            Count I: Infringement of the ’647 Patent

        40.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        41.       On information and belief, Aurobindo’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’647 patent.

        42.       Aurobindo, by the submission of its Paragraph IV Certifications as part of its

ANDA to the FDA, has indicated that it seeks approval to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Aurobindo’s

ANDA Products, prior to the expiration of the ’647 patent.

        43.       Aurobindo’s ANDA has been pending before the FDA since at least April 5,

2017, the date that Aurobindo sent Aurobindo’s First Notice Letter to Celgene.

        44.       Aurobindo’s submission of its ANDA to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Aurobindo’s

ANDA Products, prior to the expiration of the ’647 patent, constitutes infringement of one or

more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).


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       45.       There is a justiciable controversy between Celgene and Aurobindo as to the

infringement of the ’647 patent.

       46.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will infringe one or more claims of the ’647 patent under 35 U.S.C. § 271(a) by

making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA Products in the

United States.

       47.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will induce infringement of one or more claims of the ’647 patent under 35 U.S.C.

§ 271(b) by making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA

Products in the United States. On information and belief, upon FDA approval of Aurobindo’s

ANDA, Aurobindo will intentionally encourage acts of direct infringement with knowledge of

the ’647 patent and knowledge that its acts are encouraging infringement.

       48.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will contributorily infringe one or more claims of the ’647 patent under 35 U.S.C.

§ 271(c) by making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA

Products in the United States. On information and belief, Aurobindo has had and continues to

have knowledge that Aurobindo’s ANDA Products are especially adapted for a use that infringes

one or more claims of the ’647 patent and that there is no substantial non-infringing use for

Aurobindo’s ANDA Products.

       49.       Celgene will be substantially and irreparably damaged and harmed if

Aurobindo’s infringement of the ’647 patent is not enjoined.

       50.       Celgene does not have an adequate remedy at law.




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        51.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                           Count II: Infringement of the ’648 Patent

        52.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        53.       On information and belief, Aurobindo’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’648 patent.

        54.       Aurobindo, by the submission of its Paragraph IV Certifications as part of its

ANDA to the FDA, has indicated that it seeks approval to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Aurobindo’s

ANDA Products, prior to the expiration of the ’648 patent.

        55.       Aurobindo’s ANDA has been pending before the FDA since at least April 5,

2017, the date that Aurobindo sent Aurobindo’s First Notice Letter to Celgene.

        56.       Aurobindo’s submission of its ANDA to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Aurobindo’s

ANDA Products, prior to the expiration of the ’648 patent, constitutes infringement of one or

more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

        57.       There is a justiciable controversy between Celgene and Aurobindo as to the

infringement of the ’648 patent.

        58.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will infringe one or more claims of the ’648 patent under 35 U.S.C. § 271(a) by

making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA Products in the

United States.




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        59.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will induce infringement of one or more claims of the ’648 patent under 35 U.S.C.

§ 271(b) by making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA

Products in the United States. On information and belief, upon FDA approval of Aurobindo’s

ANDA, Aurobindo will intentionally encourage acts of direct infringement with knowledge of

the ’648 patent and knowledge that its acts are encouraging infringement.

        60.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will contributorily infringe one or more claims of the ’648 patent under 35 U.S.C.

§ 271(c) by making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA

Products in the United States. On information and belief, Aurobindo has had and continues to

have knowledge that Aurobindo’s ANDA Products are especially adapted for a use that infringes

one or more claims of the ’648 patent and that there is no substantial non-infringing use for

Aurobindo’s ANDA Products.

        61.       Celgene will be substantially and irreparably damaged and harmed if

Aurobindo’s infringement of the ’648 patent is not enjoined.

        62.       Celgene does not have an adequate remedy at law.

        63.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                           Count III: Infringement of the ’649 Patent

        64.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        65.       On information and belief, Aurobindo’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’649 patent.




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       66.       Aurobindo, by the submission of its Paragraph IV Certification as part of its

ANDA to the FDA, has indicated that it seeks approval to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Aurobindo’s

ANDA Products, prior to the expiration of the ’649 patent.

       67.       Aurobindo’s ANDA has been pending before the FDA since at least April 5,

2017, the date that Aurobindo sent Aurobindo’s First Notice Letter to Celgene.

       68.       Aurobindo’s submission of its ANDA to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Aurobindo’s

ANDA Products, prior to the expiration of the ’649 patent, constitutes infringement of one or

more of the claims of that patent under 35 U.S.C. § 271(e)(2)(A).

       69.       There is a justiciable controversy between Celgene and Aurobindo as to the

infringement of the ’649 patent.

       70.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will infringe one or more claims of the ’649 patent under 35 U.S.C. § 271(a) by

making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA Products in the

United States.

       71.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will induce infringement of one or more claims of the ’649 patent under 35 U.S.C.

§ 271(b) by making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA

Products in the United States. On information and belief, upon FDA approval of Aurobindo’s

ANDA, Aurobindo will intentionally encourage acts of direct infringement with knowledge of

the ’649 patent and knowledge that its acts are encouraging infringement.




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        72.       Unless enjoined by this Court, upon FDA approval of Aurobindo’s ANDA,

Aurobindo will contributorily infringe one or more claims of the ’649 patent under 35 U.S.C.

§ 271(c) by making, using, offering to sell, selling, and/or importing Aurobindo’s ANDA

Products in the United States. On information and belief, Aurobindo has had and continues to

have knowledge that Aurobindo’s ANDA Products are especially adapted for a use that infringes

one or more claims of the ’649 patent and that there is no substantial non-infringing use for

Aurobindo’s ANDA Products.

        73.       Celgene will be substantially and irreparably damaged and harmed if

Aurobindo’s infringement of the ’649 patent is not enjoined.

        74.       Celgene does not have an adequate remedy at law.

        75.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Celgene respectfully requests the following relief:

        (A)     A Judgment that Defendants have infringed the patents-in-suit by submitting

ANDA No. 210249;

        (B)     A Judgment that Defendants have infringed, and that Defendants’ making, using,

offering to sell, selling, or importing Aurobindo’s ANDA Products will infringe one or more

claims of the patents-in-suit;

        (C)     An Order that the effective date of FDA approval of ANDA No. 210249 be a date

which is not earlier than the later of the expiration of the patents-in-suit, or any later expiration of

exclusivity to which Celgene is or becomes entitled;

        (D)     Preliminary and permanent injunctions enjoining Defendants and their officers,

agents, attorneys and employees, and those acting in privity or concert with them, from making,


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using, offering to sell, selling, or importing Aurobindo’s ANDA Products until after the

expiration of the patents-in-suit, or any later expiration of exclusivity to which Celgene is or

becomes entitled;

        (E)     A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining and

enjoining Defendants, their officers, agents, attorneys and employees, and those acting in privity

or concert with them, from practicing any solid forms of pomalidomide, as claimed in the

patents-in-suit, or from actively inducing or contributing to the infringement of any claim of the

patents-in-suit, until after the expiration of the patents-in-suit, or any later expiration of

exclusivity to which Celgene is or becomes entitled;

        (F)     A Judgment that the commercial manufacture, use, offer for sale, sale, and/or

importation into the United States of Aurobindo’s ANDA Products will directly infringe, induce

and/or contribute to infringement of the patents-in-suit;

        (G)     To the extent that Defendants have committed any acts with respect to the solid

forms of pomalidomide claimed in the patents-in-suit, other than those acts expressly exempted

by 35 U.S.C. § 271(e)(1), a Judgment awarding Celgene damages for such acts;

        (H)     If Defendants engage in the commercial manufacture, use, offer for sale, sale,

and/or importation into the United States of Aurobindo’s ANDA Products prior to the expiration

of the patents-in-suit, a Judgment awarding damages to Celgene resulting from such

infringement, together with interest;

        (I)     A Judgment declaring that the patents-in-suit remain valid and enforceable;

        (J)     A Judgment that this is an exceptional case pursuant to 35 U.S.C. § 285 and

awarding Celgene its attorneys’ fees incurred in this action;

        (K)     A Judgment awarding Celgene its costs and expenses incurred in this action; and




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      (L)     Such further and other relief as this Court may deem just and proper.



Dated: February 14, 2019                              By: s/ Charles M. Lizza
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                CERTIFICATION PURSUANT TO L. CIV. R. 11.2 & 40.1

       Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matter captioned

Celgene Corporation v. Hetero Labs Limited, et al., Civil Action No. 17-3387 (ES)(MAH)

(D.N.J.) is related to the matter in controversy because the matter in controversy involves the

same plaintiff and certain of the same defendants, and because defendants in the matters are

seeking FDA approval to market generic versions of the same pharmaceutical products.

       I further certify that the following matters, which will also be filed in the District of New

Jersey on February 14, 2019, are related to the matter in controversy because the matter in

controversy involves the same plaintiff, the same patents, and because defendants in the matters

are seeking FDA approval to market generic versions of the same pharmaceutical products:

           •   Celgene Corporation v. Hetero Labs Limited, et al.;

           •   Celgene Corporation v. Mylan Pharmaceuticals Inc., et al.;

           •   Celgene Corporation v. Breckenridge Pharmaceutical, Inc., et al.; and

           •   Celgene Corporation v. Apotex Inc.

       I further certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other action pending in any court, or of any pending arbitration or administrative

proceeding.




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